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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   JONATHAN GANEY
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                NO. CR-S-11-323 JAM
                                           )
12                     Plaintiff,          )
                                           )               STIPULATION AND ORDER TO VACATE
13         v.                              )               STATUS CONFERENCE
                                           )
14                                         )                Date: January 8, 2013
     WILLIAM BOHAC, KENNETH EATON,         )                Time: 9:45 a.m.
15   JONATHAN GANEY,                       )                Judge: John A. Mendez
                                           )
16                     Defendants.         )
     _____________________________________ )
17                                         )
18           It is hereby stipulated and agreed to by and between the United States of America, through JARED
19   DOLAN, Assistant U.S. Attorney, and defendants, JONATHAN GANEY, by and through his counsel,
20   Matthew C. Bockmon, Assistant Federal Defender, and WILLIAM BOHAC, by and through his counsel,
21   Dina Santos, and KENNETH EATON, by and through his counsel, Chris Cosca, that the status conference
22   for Tuesday, December 11, 2012 be vacated, and a new status conference date of Tuesday, January 8, 2013,
23   at 9:45 a.m., be set.
24           The reason for the continuance is to permit counsel to continue in negotiations with the prosecution
25   in attempt to reach a resolution and to meet with the clients to discuss various resolutions.
26           It is further stipulated that the time period from the date of this stipulation, December 7, 2012, through
27   and including the date of the new status conference hearing, January 8, 2013, shall be excluded under the
28   Speedy Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense
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 1   counsel with the reasonable time to prepare, and that the ends of justice to be served by granting the
 2   continuance outweigh the best interests of the public and the defendant in a speedy trial.
 3   Dated: December 7, 2012
 4                                                        Respectfully submitted,
 5                                                        DANIEL J. BRODERICK
 6                                                        Federal Defender
 7                                                         /s/ Matthew C. Bockmon
                                                          MATTHEW C. BOCKMON
 8                                                        Assistant Federal Defender
                                                          Attorney for Defendant
 9                                                        JONATHAN GANEY
10
     Dated: December 7, 2012                              /s/ Matthew C. Bockmon for
11                                                        DINA SANTOS
                                                          Attorney for Defendant
12                                                        WILLIAM BOHAC
13   Dated: December 7, 2012                              /s/ Matthew C. Bockmon for
                                                          CHRIS COSCA
14                                                        Attorney for Defendant
                                                          KENNETH EATON
15
16   Dated: December 7, 2012                              BENJAMIN B. WAGNER
                                                          United States Attorney
17
                                                   By:     /s/ Matthew C. Bockmon for
18                                                        JARED DOLAN
                                                          Assistant U.S. Attorney
19                                                        Attorney for Plaintiff
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     Stipulation/Order                                     2
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 1                                                   ORDER
 2          Based on the reasons set forth in the stipulation of the parties filed on December 7, 2012, and good
 3   cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY
 4   ORDERED that the status conference currently scheduled for Tuesday, December 11, 2012, be vacated and
 5   that the case be set for Tuesday, January 8, 2013, at 9:45 a.m. The Court finds that the ends of justice
 6   served by granting such a continuance outweigh the best interests of the public and the defendant in a speedy
 7   trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ December 7, 2012,
 8   stipulation, the time within which the trial of this matter must be commenced under the Speedy Trial Act is
 9   excluded during the time period from the date of this stipulation, December 7, 2012, through and including
10   January, 8, 2013, pursuant to 18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4.
11
     DATED: December 7, 2012
12
13                                                /s/ John A. Mendez
                                                  JOHN A. MENDEZ
14                                                United States District Court Judge
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     Stipulation/Order                                    3
